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AO 91(Rev.08/09) CriminalComplaint

                                U NITED STATES D ISTRICT C OURT
                                                        forthe
                                             Southern DistrictofFlorida

               United StatesofAmerica                     )                j
                                                          '
                JOHN JOSEPH KLESS
                                                          )
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                                                          )

                                              CR IM INA L C O M PLA IN T

        1,thecomplainantin thiscase,statethatthefollowing istruetothebestofmy knowledgeand belief.
Onoraboutthedatets)of                   04/16/2019             inthecountyof                Broward        inthe
   Southern    Districtof               Florida        ,thedefendantts)violated:
           CodeSection                                            OffenseDescri
                                                                              ption
18U.S.C.j875(c)                          InterstateTransmissionofThreats




      Thiscriminalcomplaintisbasedonthesefacts:
SEE ATTACHED AFFIDAVIT




        V Continuedontheattachedsheet.


                                                                                Complainant'
                                                                                           ssi
                                                                                             gnature

                                                                   SpecialAgentLacey Evans,U.S.CapitolPolice
                                                                                   Printednameand title

Swol'
    n to beforemeand signed in my presence.
                N

oate:          t'
                '
                ! ') 0)                                                                  e's s nature

City and state:                Ft.Lauderdale,Florida                 Hon.Barry S.Seltzer, . .M agistrate Judg
                                                                                   Printednameand title
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                  A FFIDA V IT IN SUPPOR T O F C RIM IN AL CO M PLA IN T


         Youraffiant,Lacey Evans,being firstduly sworn,doeshereby deposeandstateasfollows:


                                       INAROPVCTION

                1am aSpecialAgent(SA)withtheUnited StatesCapitolPolice(USCP),where1
  have served since A4ay 2015. 1 am currently assigned to the lnvestigations D ivision, Threat

  AssessmentSection.M y duties and responsibilities,nm ong otherthings,include investigating

  threatsmadeto federalofficials. 1have attended theCriminalInvestigatorTraining Progrnm at

  theFederalLaw EnforcementTraining Centerin Glynco,Georgia. Ihave received training and

  gained experience in search warrant and arrest warrant applications. I have participated in

  num erous investigations into threats against m em bers ofCongress to include violations ofTitle

  18,UnitedStatesCode,Section 875(c).
                lam familiarwith the factsand circum stancessetforth in thisaffdavitasaresult

  ofmy participation in theinvestigation;asaresultofmy experience,training,and backgrotmd as

  an A gent with the USCP; as a result of personal observations and exam ination of relevant

  evidence;and as a resultofinform ation provided to m e by otherlaw enforcem entofficersand

  witnesses. The infonnation contained in this affidavitis notinclusive of allthe facts ofthe

  investigation and is provided forthe limited purpose ofestablishing probable cause to obtain a

  crim inalcom plaint.

         3.     This affidavit is subm itted in supportof a Crim inal Com plaint for the arrest of

  JOHN JOSEPH KLESS (hereafter SIKLESS'') forthe lnterstate Transmission of Threats,in
  violation ofTitle18,UnitedStatesCode,Sedion875(c).
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                                      PR O BA BLE C A U SE

                O n April 16,2019,an unknow n m ale caller,later identified as JO H N JO SEPH

  KLESS,called the W ashington,D .C.Oftk es of a U .S.Congressm an from California, a U .S.

  Congresswoman from M ichigan,and a U.S.Senatorfrom New Jersey,from phonenum ber954-

  326-0611,and tllreatened to killthem .

                Specifically,on April16,2019,atapproxim ately 7:00 a.m .EDT, KLESS called

  U.S.Congressm an Erie Swalwellfrom Califom iaand leftthefollowing voicem ail:

        (Tuck you,Eric cocksucker.W hy don'tyou go suck yourdaddy'sdead dick,you
        fucking piece ofshit.The day you com eafterourgtm s,m otherfucker, is the day
        you'llbe dead.Along with everybody in the fucking government,m otherfucker.
        You want war bitch? Keep talking like that.Have allyou fucking stupid ass
        Democrats keep talking like that shittoo.Same with thattowel head Taliban
        fuckingwhore.Y'allmotherfuckersdon'tgiveafuck about9/11, oralltheillegals
        com ing in,oralltheniggerson fucking welfare,butal1you fucking care aboutis
        takingguns,bitch you'regonnafuckingpay forthatshit,nigger. You're gonna die,
        don'twanna,don'tdo thatshit,boy.You'llbe yourdeath bedm otherfucker, along
        with al1 the rest of you Democrats. So if you want death, keep that shit up,
        m otherfucker.Keep talking that shit,because the Am erican people are gonna
        fucking war.W e're gonna fucking war in this country.You motherfuckers are
        gonnapay foritall,withyourfucking blood,bitch.Fuck offand havea shitty day
        you cocksucking fucking m otherfucker,you.Eat shit D em ocratshit. Com m unist
        fuck bag.Go suck yourdaddy'sdead dick.''

        6.     On April 16, 2019, at approxim ately 7:09 a.m . EDT, K IUESS called U.S.

 Congresswom an Rashida Tlaib from M ichigan and leftthefollowingvoicem ail:

        Ctl-ley Taliban.You gotfucking nerve,bitch.TellyourTaliban friend to shutthe
        fuck up about 9/11,this ain't Trump-s fault, bitch,it's allyour people's fault.
        You'rethem otherfuckerswhodrovetheplanesintothebuildings, biteh.Fuck you.
        You won'tfucking tellAm ericanswhatto say and you definitely don'ttellour
        president,Donald Trump,what to say,whore.It was your Taliban bitch, w ho
        fueking opened up her fucking tow elhead m outh about ûsom e people did it.'Y ou
        know what,she'slucky she'sjustgetting deaththreatsbitch.Soareyou.Alright?
        You'reluckythey'rejustthreats.M otherfucker.tcuzthedaywhen thebelltolls,
        whore,and this country com es to a w ar, there willbe no m ore threats.Yourlife
        willbeonthefucking line.Allofyou.So.There'speoplelikemeoutthere, m illions
        and m illionsofus who hate you m otherfuckers, m an,forwhatyou done on 9/11,I
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          blamea11ofyou,becausea11ofyouhadafuckingpartinonit.Fuck oftlyoutowel
          head w hore,and go suck fucking Obam a's A ID S dick.That's anothertow elhead
          motherfucking niggerrightthere,justlikeyou.You're shit.And you'llbe shit.
          You'reanabomination,justlikefaggots,motherfucker.Fuck offbitch,Shutyour
          fuckingm outh.N oonewantstofuckinghearyou orthatotherlittlewhore.1'd like
          to take thatbitch and throw herrightoffthe Empire State Building,thatfucking
          whore.Tellher to shuther fucking m outh,you fucking fuck her al1the tim e
          probably.So,tellherto shutthe fuck up,alright?From onetowelhead to another.
          You stanking,fucking smelly fucking bitch.Fuck off.1wish allofyou theworst.
          You can go fuck offin life.Fuck you and fuck M ohammed too.You bitch fucking
          cunt.''

                    On April16,2019,atapproximately 7:30 a.m .EDT,K LESS called U.S.Senator

   CoreyBookerfrom N ew Jersey and leftthefollowing voicem ail:

          'sY eah I got a com m entfor you,you stupid fucking nigger.D o you think that if
          Trump,who'sthe bad guy here...Aherthatfucking Taliban bitch said thatshit
          about9/l1? Justsome people did it.M aybe som e niggers gotdid ityou fucking
          m orlkey.You're a fucking disgrace.W e need to killa1lyou m otherfuckersm an,
          every fucking one of you m an.Y ou're a bunch of shit.You fucking stick us on a
          fucking terroristyou bitch.And m ore terrorism fucking happened during Obam a
          you dum b fucking m onkey.Y ou're a fucking head m onkey.D uring Trum p,one
          motherfuckerdiesoverwhat?A fuckingwhitedudejumpingin acarandnznning
          some fucking people over in fucking Charlottesville,one fucking person.You
          dum b fucking nigger. Shut the fuck up. Shut up about 9/11 and shut the
          (unintelligible)andtellthatmotherfuckingtowelheadto shutthefuck up.W e're
          going to have a w ar in this country m otherfuckers. Y ou're going to be the
          m otherfuckersthatpay.D on'tyou w orry,you govem m entofficials,w illbe in the
          graveswhereyou fucking belong.And a1lyou black motherfuckerswanttojoin
          these fucking M uslims, go right ahead. W e'll fucking dwindle your fucking
          numbersdown too.Fuck offasshole,shutyourfucking m outh.Tellyotlrfucking
          colleague with thetowelon herhead to shutthefuck up about9/11.You fucking
          m orlkey.''

                    YourAffiantconducted open source searchesofthe originating number954-326-

   0611,revealing the currentcellularcanier as T-M obile and associated users asKim and John

 ' K IUE SS.Based upon the threatening nature of the phone calls,com bined with the factthat U .S.

   Congressw om an Rashida Tlaib w as due to speak in Florida betw een A pril 20-21, 2019,Y our

   Aftiantcontacted T-M obile Law Enforcem entRelations on April 16,2019 atapproxim ately 6:36
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  p.m .ED T and subm itted an exigentrequestfor subscriberinform ation for wireless account954-

  326-0611toincludecurrentlocation,calldetailrecords,and continuouslocationupdates(pings).
  Atapproxim ately 6:51p.m .EDT,YourAffiantreceived theresultsoftheT-M obilerequest. The

  accountretunedtoKim Klesswith abillingaddressof8030N .W .96thTerrace, A pt.211,Tam arac,

  Florida,33321.Database searchesoftheprovided addressrevealed thecurrentresidentsof8030

  N .W .96thTerrace, Apt.211,Tnmarac,FloridaasKim Klessand John KI,ESS,withno additional

  occupants.T-M obile additionally provided the currentGPS coordinates ofthe wireless account

  (26.223840,-80.281885),whichreturnedtothevicinityoftheTamarac,Floridaaddress.Outgoing
  calldetailrecordsprovided by T-M obileconfinned callsfrom 954-326-0611to theW ashington,

  D.C. offices of the         Congressman Swalwell from California (202-225-5065),
  CongresswomanTlaibfrom M ichigan(202-225-5126),andU.S.SenatorBookerfrom New Jersey
  (202-224-3224).
         9.     Checks of the United States Capitol Police Threat Assessment Section Case

  M anagem entSystem additionally revealed a previous February,2019 case on K IaE SS,involving

  profane/harassing calls m ade to California U .S. Congressw om an Pelosi's W ashington, D .C .

  Oftice. Thisearly 2019 case included voice m essagesleftby K IUESS concerning Congresstaking

  awayhisguns,abortion,illegalimm igration,and M uslim sin Congress.
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                                       CON CLUSIO N
                Based upon the foregoing facts,your affiantrespectfully subm its thatthere is

  probable cause to believe thatJOH N KI,ESS,did com m ita violation offederallaw ,to wit,the

  lnterstateTransmissionofThreats,inviolationofTitle 18,United StatesCode,Section875(c).


          F UR TH ER YO UR A FFIAN T SA YE TH NA UGH T




                                                  Lacey ans
                                                  SpecialA gent
                                                  United StatesCapitolPolice


  Sworn to and subscribed beforeme this18th
  day ofApril,2019,in Ft.Lauderdale,Florida.



                                                  H on.Barry S. 1tz
                                                  United StatesM a ' ateJudge
